       Case 1:23-cv-22591-KMW
                     Case 23-12699-CLC
                                Document Doc
                                         5 Entered
                                             86 Filed
                                                   on FLSD
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         ORDERED in the Southern District of Florida on July 14, 2023.




                                                                  Corali Lopez-Castro, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________


                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                    www.flsb.uscourts.gov



         In re:                                                   Case No. 23-12699-CLC
          Alain Villar                                            Chapter 7
                                                                  Adversary Proceeding No.
                                                                  U.S. District Court Case No. 23-CV-22591-KMW

                       Debtor                   /



                       Plaintiff,
         vs.



                       Defendant            /


                                    ORDER DISMISSING BANKRUPTCY APPEAL

                  A Notice of Appeal was filed on 7/10/2023                  Alain Villar
                                                                        , by __________________________
         ____________________________________________________________________________
                                     Order Dismissing Appeal for Failure by Appellant(s) to Timely File Notice of
         appealing an order entitled ______________________________________________________
         Appeal, (U.S. District Court Case No. 23-cv-22207-BB) (ECF #57)
         ____________________________________________________________________________
         ____________________________________________________________________________
         (rev. 10/16/19)
                                                         Page 1 of 2
Case 1:23-cv-22591-KMW
              Case 23-12699-CLC
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           A review of the record indicates that:
           [✔]      The appeal was filed after the time specified in Bankruptcy Rule 8002. [See also
                    Local Rule 8002-1(A).]
           [ ]      Appellant failed to timely file the designation of the items for the record or its
                    statement of the issues as required by Bankruptcy Rule 8009. [See also Local
                    Rule 8009-1(A).]
           [ ]      A “Notice of Deficiency Related to Filing an Appeal” was provided by the Clerk to
                    the appellant indicating that the filing fee required by Bankruptcy Rule
                    8003(a)(3)(c) has not been remitted and the appellant has not timely remedied
                    this deficiency. [See also Local Rule 8003-1.]


           Accordingly, it is


           ORDERED that this appeal is DISMISSED as authorized and directed by Local Rule
  87.4(c) of the U.S. District Court.
                                                     ###



  The Clerk shall provide a copy of this order to:
  All parties to the appeal
  Office of the U.S. Trustee
  U.S. District Court – Southern District of Florida




  (rev. 10/16/19)
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